                       Case 1:22-cv-02334-TSC Document 16 Filed 09/14/22 Page 1 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-2334

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Andrea M. Gacki
 was received by me on (date)                     08/09/2022          .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

          ✔
          ’ Other (specify):       Summons sent via Certified U.S. Mail, Return Receipt Requested August 22, 2022.

                                   Receipt not returned; U.S. Postal Service website confirms delivery on August 29, 2022.                 .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:          09/14/2022                                                             /s/ Adam T. Wingard
                                                                                            Server’s signature

                                                                               Adam T. Wingard, Senior Paralegal
                                                                                        Printed name and title

                                                                                  Morgan, Lewis & Bockius LLP
                                                                                 1111 Pennsylvania Avenue, NW
                                                                                     Washington, DC 20004
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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                                                                                                                                 TO:

                                                                                                                                        Andrea M. Gacki
                                                                                                                                        Director of the U.S. Department of the
                                                                                                                                          Treasury, Office of Foreign Assets Control
                                                                                                                                        1500 Pennsylvania Ave. NW
                                                                                                                                        Washington, DC 20220
               Case 1:22-cv-02334-TSC Document 16 Filed 09/14/22 Page 3 of 5

                                                                                       FAQs
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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia

              Delyan Slavchev Peevski, et al.                         )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:22-cv-2334
                                                                      )
                      Janet Yellen, et al.                            )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Andrea M. Gacki
                                           Director of the U.S. Department of the Treasury, Office of Foreign Assets Control
                                           1500 Pennsylvania Avenue, NW
                                           Washington, D.C. 20220




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Patrick A. Harvey
                                           Morgan, Lewis & Bockius LLP
                                           1111 Pennsylvania Avenue, NW
                                           Washington, D.C. 20004-2541




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 ANGELA D. CAESAR, CLERK OF COURT


Date:             08/09/2022                                                                     /s/ Natalie Guerra
                                                                                           Signature of Clerk or Deputy Clerk
